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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                        )
 COMMISSION,                                    )
                                                )
           Plaintiff,                           )
                                                )      Case No.: 1:18-cv-02844-RDB
 v.                                             )
                                                )
 KEVIN B. MERRILL, et al.,                      )
                                                )
           Defendants.                          )


      ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL OF TWELFTH
        INTERIM FEE APPLICATION OF HMP ADVISORY HOLDINGS, LLC,
                        D/B/A HARNEY PARTNERS

         Before the Court is the Receiver’s Motion for Approval of Twelfth Interim Fee Application

of HMP Advisory Holdings, LLC, d/b/a Harney Partners (the “Motion”). Having considered the

Motion, and any responses or objections thereto, the evidence presented, and arguments of counsel,

if any, the Court finds that the time spent, services performed, hourly rates charged, and expenses

incurred by the Receiver and HMP Advisory Holdings, LLC, d/b/a Harney Partners, on behalf of

the Receivership Estate were reasonable and necessary for the Receiver to perform his

Court-ordered duties. The Court, having reviewed the Motion, is of the opinion that the Motion

be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $36,357.47 for fees and expenses

incurred between July 1, 2021 and September 30, 2021 is approved.

Signed this ____ day of ______________, 2021.




                                              RICHARD D. BENNETT
                                              UNITED STATES DISTRICT COURT JUDGE


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